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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-03309-BNB

  MARTIN THOMAS WIRTH,

           Plaintiff,

  v.

  JOHN HICKENLOOPER, In his Official Capacity as Governor of Colorado,
  JOHN SUTHERS, In his Official Capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, In his Official Capacity as 11th District Court Judge,
  VICKI ARMSTRONG, In her Official Capacity as Public Trustee of Park County,
  NATIONSTAR MORTGAGE, LLC,
  LAWRENCE E. CASTLE, In his Corporate and Individual Capacities, and
  THE CASTLE LAW GROUP, LLC,

           Defendants.


                                  ORDER DRAWING CASE


           After review pursuant to D.C.COLO.LCivR 8.2C, the Court has determined that

  this case does not appear to be appropriate for summary dismissal. Therefore, the

  case will be drawn to a district judge and to a magistrate judge. See D.C.COLO.LCivR

  8.2D. Accordingly, it is

           ORDERED that this case shall be drawn to a district judge and to a magistrate

  judge.

           DATED December 16, 2013, at Denver, Colorado.

                                                   BY THE COURT:

                                                   s/ Boyd N. Boland
                                                   United States Magistrate Judge
